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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO.
                                                 :
 JONATHAN ALAN ROCKHOLT,                         :
                                                 :    VIOLATIONS:
                         Defendant.              :
                                                 :    18 U.S.C. § 231(a)(3)
                                                 :    (Civil Disorder)
                                                 :
                                                 :    18 U.S.C. § 641, 2
                                                 :    (Theft of Government Property)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JONATHAN ALAN

ROCKHOLT committed and attempted to commit an act to obstruct, impede, and interfere with a

law enforcement officer lawfully engaged in the lawful performance of his/her official duties

incident to and during the commission of a civil disorder which in any way and degree obstructed,

delayed, and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JONATHAN ALAN

ROCKHOLT, did embezzle, steal, purloin, knowingly convert to his use and the use of another,

and without authority, sold, conveyed and disposed of any record, voucher, money and thing of

value of the United States and any department and agency thereof, that is, a United States Capitol

Police riot shield, which has a value of less than $1000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section 641
       and 2)

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052



                                              By:    _________________________
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